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                                            In The
                      United States District Court
            For the Northern District Of Illinois, Eastern Division
JOHN F. TAMBURO                             )
     Plaintiff                              )
                                            )
-against-                                   )
                                            )       Case Number: 10-CV-2748
NCO FINANCIAL SYSTEMS, INC.                 )       Judge Pallmeyer
     Defendant                              )       Magistrate Judge Schenkier


                        PLAINTIFF’S MOTION TO STRIKE
               THE DEFENDANT’S AMENDED AFFIRMATIVE DEFENSES

       NOW COMES BEFORE THIS HONORABLE COURT your Plaintiff, John F. Tamburo

(“John”), appearing pro se and respectfully moving this court to strike the Affirmative Defenses

against the Complaint, as filed by the Defendant on May 26, 2010. In support of his motion,

John states:

1.     The Complaint (ECF Doc. No. 1) was filed on May 1, 2010, and duly served upon the

       Defendant’s agent in Chicago.

2.     On May 26, 2010, Defendant filed an answer to the Complaint (ECF Doc. No. 8); said

       answer included five affirmative defenses.

3.     On May 26, 2010 Plaintiff filed his motion to strike those five affirmative defenses (ECF

       Doc. No. 11). On June 3, 2010, this court granted the aforementioned motion without

       prejudice.

4.     On June 17, 2010, Defendants filed an amended answer asserting two amended

       affirmative defenses.



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5.     As set forth in the attached memorandum of law, the Defendant’s affirmative defenses

       fail to state a claim under applicable law. They must all therefore be stricken.

6.     It is futile to grant the defendants leave to file a second amended set of affirmative

       defenses; Plaintiff respectfully prays that this court grant Plaintiff’s motion with

       prejudice.



                                             RELIEF

       Wherefore, PREMISES CONSIDERED, John respectfully prays that this court strike all

of the Defendant’s amended affirmative defenses.

       DATED June 20, 2010:

/s/ John F. Tamburo____________________________
John F. Tamburo
Plaintiff
PO Box 1656
Frankfort IL 60423
815-464-5010




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